                                     UNITED STATES DISTRICT COURT
                                    EASTERN DISTRICT OF TENNESSEE
                                           AT GREENEVILLE



RICHARD GAUDIO,                                                    )
          Petitioner,                                              )
                                                                   )   Nos.   2:11-CR-55
v.                                                                 )          2:14-CV-308
                                                                   )
UNITED STATES OF AMERICA,                                          )
          Respondent.                                              )


                                  MEMORANDUM OPINION AND ORDER

           Before the Court is a “Motion Under 28 U.S.C. § 2255 To Vacate, Set Aside, Or Correct

Sentence By A Person In Federal Custody,” [Doc. 399] 1, filed by Richard Gaudio, (“petitioner”

or “Gaudio”). The United States has responded in opposition to the motion, [Doc. 409], and the

matter is ripe for disposition. The Court has determined that the files and records in the case

conclusively establish that Gaudio is not entitled to relief under § 2255 and no evidentiary

hearing is necessary. For the reasons which follow, petitioner’s motion will be DENIED and the

case DISMISSED.

I.         Factual and Procedural Background

           Petitioner was charged in six counts of a superseding indictment returned by a federal

grand jury on December 13, 2011, [Doc. 98]. He was charged in Count 1 with conspiracy to

distribute and possess with intent to distribute at least five kilograms of cocaine in violation of 21

U.S.C. §§ 846, 841(a)(1) and 841(b)(1)(A); in Counts 29, 30 and 31 with distributing cocaine in

violation of 21 U.S.C. § 841(a)(1) and (b)(1)(C); in Count 32 with possession with intent to

distribute cocaine in violation of 21 U.S.C. § 841(a)(1) and (b)(1)(C); and in Count 33 with

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     All references are to docket entries in No. 2:11-CR-55.

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possessing a firearm in furtherance of a drug trafficking offense in violation of 18 U.S.C. §

924(c)(1)(A). After a three day jury trial, petitioner was convicted on all counts, although of a

lesser included charge, i.e., conspiracy to distribute and possess with intent to distribute less than

500 grams, as to Count 1. [Doc. 241]. Sentencing was set for January 7, 2013 and a presentence

investigation report (“PSR”) was ordered.

       A post-trial motion for judgment of acquittal as to Count 1, [Doc. 243], was denied, [Doc.

320], and, after a continuance at the request of petitioner, [Docs. 313, 316], a sentencing hearing

was conducted on March 27, 2013, [Doc. 352]. The Court overruled an objection by petitioner

to the guideline range calculation in the PSR and subsequently adopted the PSR. Petitioner’s

criminal history category was I; his total offense level was 20 for counts 1, 29, 30, 31 and 32;

and the resulting advisory guideline range was 33-41 months of imprisonment. Count 33 carried

a 60-month mandatory minimum consecutive sentence and the total advisory guideline range

was 93-101 months. [PSR, ¶¶ 33, 34, 40 and 58]. Petitioner was sentenced to a term of

imprisonment of 93 months, the bottom of the advisory guideline range, [Doc. 352]. Judgment

was entered on April 2, 2013, [Doc. 353]. Petitioner filed a notice of appeal on April 9, 2013,

[Doc. 354], and the Sixth Circuit affirmed this Court’s judgment on April 17, 2014, [Doc. 393].

The instant § 2255 motion was timely filed on October 14, 2014, [Doc. 399].

       A recitation of the facts established at trial is not necessary to the resolution of the single

issue raised in petitioner’s § 2255 motion. The facts relevant to the motion were set out in the

Sixth Circuit’s order as follows:

                       Gaudio argues on appeal that the trial court abused its
               discretion in failing to answer a juror question regarding
               conspiracy. During jury deliberations, the jury sent the court the
               following question:

                       In relation to charge # 3, is it appropriate for us to


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                      consider whether a conspiracy existed independent
                      of the original conspiracy charged? By this we
                      mean is it appropriate for us to consider whether the
                      defendant was part of a new conspiracy or a second
                      conspiracy of his own making?

                       The court discussed the question with the parties, stating
               that it was not sure what the jury meant by “charge #3.” Gaudio,
               through counsel, stated that the jury might have been thinking
               about the “conspiracy under 500 grams” listed as a third option on
               the jury verdict form and that it would not have made sense for the
               question to be about the third “actual charge” against Gaudio,
               because it involved “one of the sales” of cocaine. Gaudio then
               posited that the jury might have been thinking that Gaudio had his
               own independent conspiracy involving less than 500 grams and
               was asking whether it could consider that in Gaudio’s conspiracy
               charge. The court responded that it “almost seemed as if the jury
               was asking about multiple conspiracies. The court noted that it had
               not given a charge about multiple conspiracies, and if it had, the
               charge would have stated clearly that even if Gaudio was a
               member of another conspiracy, the jury could only find him guilty
               if he was a member of the conspiracy charged in the indictment.
               However, the court stated that, because of the question’s wording
               and the uncertainty involved, the court did not think it could do
               anything except tell the jury that it did not understand the question
               and thus could not answer it. The court stated further that although
               the jury was probably referring to charge # 3 on the verdict form,
               the court did not know what the jury meant by a conspiracy
               independent of the original conspiracy or a second conspiracy of
               Gaudio’s own making.

                       Gaudio stated, “I think perhaps the instruction you gave
               about the multiple conspiracies might clear it up, that’s at least
               how I read this; but, you know, we’re not certain.” After further
               discussion, the court stated that if the jury was really asking about
               whether it could find Gaudio guilty of a conspiracy not charged in
               the indictment, the answer would be no, but the court would be
               speculating as to whether that was the question being asked by the
               jury. The court then proposed the following answer: “Members of
               the jury: Your precise question is unclear to the court. At this
               time I cannot give you any instructions beyond what’s already
               been given. You have a copy of the court’s instructions and have
               the verdict form.” When asked whether the answer was “[a]ll
               right,” both parties answered affirmatively.

[Doc. 393, at 2-3].


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II.    Standard of Review

       This Court must vacate and set aside petitioner’s sentence if it finds that “the judgment

was rendered without jurisdiction, or that the sentence imposed was not authorized by law or

otherwise open to collateral attack, or that there has been such a denial or infringement of the

constitutional rights of the prisoner as to render the judgment vulnerable to collateral attack, . . .”

28 U.S.C. § 2255.      Under Rule 4 of the Governing Rules, the Court is to consider initially

whether the face of the motion itself, together with the annexed exhibits and prior proceedings in

the case, reveal the movant is not entitled to relief. If it plainly appears the movant is not entitled

to relief, the court may summarily dismiss the § 2255 motion under Rule 4.

       When a defendant files a § 2255 motion, he must set forth facts which entitle him to relief.

Green v. Wingo, 454 F.2d 52, 53 (6th Cir. 1972); O’Malley v. United States, 285 F.2d 733, 735 (6th

Cir. 1961). “Conclusions, not substantiated by allegations of fact with some probability of verity,

are not sufficient to warrant a hearing.” O’Malley, 285 F.2d at 735 (citations omitted). A motion

that merely states general conclusions of law without substantiating allegations with facts is

without legal merit. Loum v. Underwood, 262 F.2d 866, 867 (6th Cir. 1959); United States v.

Johnson, 940 F. Supp. 167, 171 (W.D. Tenn. 1996).

       To warrant relief under 28 U.S.C. § 2255 because of constitutional error, the error must be

one of constitutional magnitude which had a substantial and injurious effect or influence on the

proceedings. Brecht v. Abrahamson, 507 U.S. 619, 637 (1993) (citation omitted) (§ 2254 case);

Clemmons v. Sowders, 34 F. 3d 352, 354 (6th Cir. 1994). See also United States v. Cappas, 29

F.3d 1187, 1193 (7th Cir. 1994) (applying Brecht to a § 2255 motion). If the sentencing court

lacked jurisdiction, then the conviction is void and must be set aside. Williams v. United States,

582 F. 2d 1039, 1041 (6th Cir.), cert. denied, 439 U.S. 988 (1978). To warrant relief for a non-



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constitutional error, petitioner must show a fundamental defect in the proceeding that resulted in a

complete miscarriage of justice or an egregious error inconsistent with the rudimentary demands

of fair procedure. Reed v. Farley, 512 U.S. 339, 354 (1994); Grant v. United States, 72 F. 3d 503,

506 (6th Cir.), cert. denied, 517 U.S. 1200 (1996). In order to obtain collateral relief under §

2255, a petitioner must clear a significantly higher hurdle than would exist on direct appeal.

United States v. Frady, 456 U.S. 152 (1982).

       A petitioner alleging ineffective assistance of counsel must satisfy a two-part test.

Strickland v. Washington, 466 U.S. 668, 687 (1987). See also, Huff v. United States, 734 F.3d

600, 606 (6th Cir. 2013). First, the Petitioner must establish, by identifying specific acts or

omissions, that counsel’s performance was deficient and that counsel did not provide

“reasonably effective assistance,” as measured by “prevailing professional norms.” Rompilla v.

Beard, 545 U.S. 374, 380 (2005). Counsel is presumed to have provided effective assistance,

and the Petitioner bears the burden of showing otherwise. Mason v. Mitchell, 320 F.3d 604, 616-

17 (6th Cir. 2003); see also Strickland, 466 U.S. at 689 (a reviewing court “must indulge a strong

presumption that counsel’s conduct falls within the wide range of reasonable professional

assistance; that is, the defendant must overcome the presumption that . . . the challenged action

might be considered sound trial strategy”) (internal citation omitted).

       Second, the Petitioner must demonstrate “a reasonable probability that, but for [counsel’s

acts or omissions], the result of the proceedings would have been different.” Strickland, 466

U.S. at 694. “An error by counsel, even if professionally unreasonable, does not warrant setting

aside the judgment of a criminal proceeding if the error had no effect on the judgment.” Id. at

691; see also Smith v. Robbins, 528 U.S. 259, 285-86 (2000). The Court is not required to

analyze both prongs of the Strickland test as to every claim. Strickland, 466 U.S. at 697. Indeed,



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the Supreme Court recommended that, “[i]f it is easier to dispose of an ineffectiveness claim on

the ground of lack of sufficient prejudice, . . . that course should be followed.” Id.; accord

United States v. Hynes, 467 F.3d 951, 970 (6th Cir. 2006).

III.   Analysis

       Petitioner’s motion states his single ground as follows:

               GROUND ONE:

               When the judge refused to answer the jury’s question on the
               subject of law, my attorney Mr. Fabus failed to properly object to
               the judge’s refusal to answer the question. In the appeals court
               judgment, the appeals court cites the failure of my attorney, Mr.
               Fabus, to object to the judge’s decision not to answer the jury’s
               question as the reason the case was affirmed citing the objection
               was not made at the district court therefore could not be considered
               in my appeal. (Appendix 1 – pages 1-3). Subsequently, when my
               attorney, Mr. Fabus sent the court’s decision to me he
               acknowledged his failure to preform [sic] this critical duty during
               my trial (Appendix 2 – Page 1). Had the court answered the jury’s
               question as to whether I can be found guilty on my own conspiracy
               alone the jury would have found me not guilty on the conspiracy
               part of my trial and would have led to a sentence of 66 months
               rather than 93 months.

[Doc. 399, at 4].

       As the Sixth Circuit noted in its order, the question sent to the Court by the jury was

“confusing,” leading, of course, to the Court’s decision to decline to attempt to answer it with a

multiple conspiracy instruction or any further instruction of any kind. “Where there is evidence

that the jury is confused over an important legal issue that was not covered by the original jury

instruction, a district court abuses its discretion by not clarifying the issue.” United States v.

Fisher, 648 F.3d 442,447 (2011) (citing United States v. Nunez, 889 F.2d 1564, 1567-69 (6th Cir.

1989)). “A district court, however, should refrain from straying beyond the purpose of jury

instructions by answering jury questions that seek collateral or inappropriate advice.” Id. (citing



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United States v. Combs, 33 F.3d 667, 670 (6th Cir. 1994)). The district court’s jury instructions

must be viewed as a whole and the court should avoid instructions that are confusing,

misleading, and prejudicial. United States v. Young, 553 F.3d 1035, 1050 (6th Cir. 2009).

       Petitioner argues that his attorney was ineffective in “failing to properly object to the

judge’s refusal to answer the [jury’s] question.” [Doc. 339, at 4]. He further asserts that the

Court should have “answered the jury’s question as to whether [he could] be found guilty on my

own conspiracy alone.” [Id.] Generously reading petitioner’s claim, it appears that he believes

his attorney should have requested that the Court instruct the jury on multiple conspiracies. But,

as the Court noted when discussing the question with the parties before responding to the jury’s

question, and as noted by the Sixth Circuit, the question was confusing and did not clearly

indicate the need for such an instruction. Had the Court responded to the jury’s question with a

supplemental instruction on multiple conspiracies, there is a substantial likelihood that the

Court’s answer would have been unresponsive to the jury’s question and would have simply

confused the jury. Furthermore, since the Court’s response informed the jury that the “precise

question is unclear to the Court,” the jury could have sent to the Court another, more precise,

question. The jury did not do so.

       Interestingly, the petitioner does not argue that the Court was in error by not including a

multiple conspiracy instruction in the original instructions given to the jury before it began

deliberations. It is undisputed that “when the evidence is such that the jury could find more than

one conspiracy, the trial court should give a multiple conspiracy instruction.” United States v.

Kelsor, 665 F.3d 684, 695 (6th Cir. 2011) (quoting United States v. Warner, 690 F.2d 545, 551

(6th Cir. 1982)). Even so, however, it is not error to fail to give the instruction where the

instructions given, as here, were on the whole adequate. Warner, 690 F.2d at 551. The Court



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correctly charged the jury on the elements of the conspiracy charge, that petitioner was “only on

trial for the particular crimes charged in the indictment,” and that the jury’s job was “limited to

deciding whether the government has proved the crimes charged in the indictment.” [Doc. 365,

at 89-91].    Even if a multiple conspiracy instruction would have been preferable, these

instructions adequately informed the jury that petitioner could only be convicted of the

conspiracy alleged in the indictment. See Warner, 690 F.2d at 551 (citing United States v.

Rodgers, 624 F.2d 1303, 1308 (5th Cir.), cert. denied, 450 U.S. 917 (1980); United States v.

Watson, 594 F.2d 1330, 1340 (10th Cir. 1979), cert. denied, 444 U.S. 840 (1980)).

       In addition, the United States presented “very substantial evidence” of petitioner’s guilt,

[see Doc. 320, at 5], and petitioner’s counsel conceded that evidence of the larger conspiracy was

“overwhelming.” [Id.] Additionally, “this [is] not a case where a defendant with a relatively

minor role was forced to endure an extended trial where the bulk of the evidence did not pertain

to him.” United States v. Caver, 470 F.3d 220, 237 (6th Cir. 2006). The conspiracy charged here

was a chain conspiracy and the Sixth Circuit has “acknowledged that in such cases ‘it is not easy

for a defendant to succeed in making a multiple conspiracy claim.’” United States v. Quinones-

Cedeno, 51 Fed. App’x 558, 565 (6th Cir. 2002) (quoting United States v. Maliszewski, 171 F.3d

992, 1014 (6th Cir. 1998)). Petitioner is less than clear about the contours of the multiple

conspiracies he claims are shown by the evidence, see id., or what he means by “my own

conspiracy alone.” [Doc. 399, at 4]. While evidence of guilt of the charged conspiracy was

substantial, evidence of any other conspiracy of which Gaudio might have been a part was non-

existent. Under all these circumstances, a multiple conspiracy instruction was inappropriate not

only before the jury retired to deliberate but also in response to the jury’s question, and counsel’s

actions were entirely appropriate.



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       Even assuming arguendo that a multiple conspiracy instruction was needed in this case

and that counsel was ineffective, petitioner cannot show prejudice, despite his conclusory

allegation that, had the Court given the instruction, he would have been found not guilty of the

conspiracy and would have received a sentence of 66 months rather than 93 months. The danger

a multiple conspiracy instruction “seeks to avoid . . . ‘is the transference of guilt from defendants

involved in one conspiracy to defendants in another conspiracy, such that a defendant is

convicted for a conspiracy for which he was not indicted.’” Warner, 690 F.2d at 551 (quoting

Caver, 470 F.3d at 246). When the evidence demonstrates multiple conspiracies, the failure to

give the instruction is prejudicial “if the error of trying multiple conspiracies under a single

indictment substantially influenced the outcome of the trial.” Caver, 470 F.3d at 327.

       There was simply no risk here that the jury transferred guilt of defendants involved in one

conspiracy to petitioner, who was involved in another. Because the jury is presumed to have

followed the Court’s instruction that it could only find defendant guilty of the charged

conspiracy, see Roberts v. Carter, 337 F.3d 609, 615 (6th Cir. 2003), the Court has no difficulty

concluding that the jury did not transfer guilt from the other co-defendants to petitioner or find

defendant guilty of the charged conspiracy when in fact he was only involved in some other,

vague, uncharged conspiracy. Finally, petitioner’s argument that he would have received a lesser

sentence if he had not been convicted of the conspiracy is simply incorrect. As set forth in PSR,

Counts 1, 29,30, 31 and 32 were grouped for guideline calculation purposes pursuant to USSG §

3D1.2(d). [PSR, ¶ 24]. Even without the conspiracy conviction, the guideline range for Counts

29, 30, 31 and 32 would have remained 33 to 41 months, plus the 60-month consecutive sentence

for Count 33. Petitioner has not carried his burden of establishing any prejudice.

IV.    Conclusion



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        For the reasons set forth above, the Court holds that petitioner’s conviction and

sentencing were not in violation of the constitution or laws of the United States and her motion

to vacate, set aside or correct her sentence pursuant to 28 U.S.C. § 2255 is DENIED.

        Under 28 U.S.C. § 2253(c)(2), the Court must determine whether a certificate of

appealability should be granted. A certificate should issue if petitioner has demonstrated a

“substantial showing of a denial of a constitutional right.” 28 U.S.C. § 2253(c)(2). The Sixth

Circuit Court of Appeals disapproves of the issuance of blanket denials of a certificate of

appealability. Murphy v. Ohio, 263 F. 3d 466 (6th Cir. 2001). The District Court must “engage

in a reasoned assessment of each claim” to determine whether a certificate is warranted. Id. at

467. Each issue must be considered under the standard set forth by the Supreme Court in Slack

v. McDaniel, 529 U.S. 473, 120 S. Ct. 1595 (2000). Id.

        Under Slack, to warrant a grant of the certificate, “[t]he petitioner must demonstrate that

reasonable jurists would find the district court’s assessment of the constitutional claims debatable

or wrong.” After reviewing each of Petitioner’s claims, the Court finds that reasonable jurists

could not conclude that petitioner’s claims are adequate to deserve further review. Because

petitioner has failed to make a substantial showing of the denial of a constitutional right, a

certificate of appealability will not issue.

                SO ORDERED:
                                                                     s/J. RONNIE GREER
                                                                UNITED STATES DISTRICT JUDGE




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